   Case: 1:17-cv-00073-JAR Doc. #: 1 Filed: 05/09/17 Page: 1 of 7 PageID #: 1




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                             SOUTHEASTERN DIVISION

WILLIAM T. COOPER, JAY R.                        )
HOLCOMB, JEFFERY D. JOHNSON,                     )
JEREMY S. STOELTING, and JAMES D.                )
PATTON,                                          )
                                                 )
                      Plaintiffs,                ) Case No.
                                                 )
       V.                                        ) JURY TRIAL DEMANDED
                                                 )
                                                 )
SHERIFF CORY HUTCHESON,                          )
Serve: 200 W. Commercial St.                     )
       Charleston, MO 63834                      )
                                                 )
                                                 )
                      Defendant.                 )

                                        COMPLAINT

       COME NOW Plaintiffs William T. Cooper, Jay R. Holcomb, Jeffery D. Johnson, Jeremy

S. Stoelting, and James D. Patton (“Plaintiffs”), by counsel, and for their Complaint against

Defendant Sheriff Cory Hutcheson (“Defendant”), state as follows:

       1.     This is a civil action seeking injunctive relief and money damages against

Defendant for committing acts under color of state law which deprived Plaintiffs of their rights

secured under the Constitution and laws of the United States and also the laws of the State of

Missouri.

                                          PARTIES

       2.     Plaintiff William T. Cooper is a resident of New Madrid County, Missouri.

       3.     Plaintiff Jay R. Holcomb is a resident of Stoddard County, Missouri.

       4.     Plaintiff Jeffery D. Johnson is a resident of Ripley County, Missouri.

       5.     Plaintiff Jeremy S. Stoelting is a resident of Dunklin County, Missouri.
    Case: 1:17-cv-00073-JAR Doc. #: 1 Filed: 05/09/17 Page: 2 of 7 PageID #: 2




          6.    Plaintiff James D. Patton is a resident of New Madrid County, Missouri.

          7.    Plaintiffs are members of the Missouri State Highway Patrol.

          8.    At all relevant times, Defendant was the duly elected Sheriff of Mississippi

County, Missouri, and/or was an employee of the Mississippi County Sheriff’s Department.

          9.    Defendant is sued in his official and individual capacity and, at all times

referenced herein, was acting under the color of the laws, statutes, ordinances, policies, customs

and usages of the State of Missouri or was acting in active concert with others who were so

acting.

                                           JURISDICTION

          10.   This action is brought pursuant to 42 U.S.C. §§ 1983 and 1988, the Fourth and

Fourteenth Amendments to the United States Constitution, 28 U.S.C. §§ 2701 et seq., as well as

pendent state law tort claims.

          11.   This Court has jurisdiction over this action pursuant to 42 U.S.C. § 1983, 28

U.S.C. §§1331, 1343 and 1367.

                                              VENUE

          12.   Venue is proper under 28 U.S.C. § 1391 because the Defendant is a resident of

Mississippi County, Missouri and because a substantial part of the events giving rise to

Plaintiffs’ claims occurred in Mississippi County, Missouri.

                             FACTS COMMON TO ALL COUNTS

          13.   Securus    Technologies,    Inc.   (“Securus”)   is   a   company   that   provides

communications systems, call management, and other services to law enforcement agencies and

correctional facilities.




                                                   2
    Case: 1:17-cv-00073-JAR Doc. #: 1 Filed: 05/09/17 Page: 3 of 7 PageID #: 3




         14.   One service that Securus provides is the ability to “ping” an individual’s cell

phone.

         15.   To “ping” a cell phone, a law enforcement officer provides Securus with an

individual’s cell phone number and other information.

         16.   In return, Securus provides the law enforcement officer the location of the cell

phone in near real time, as well as other information personal to the cell phone user.

         17.   “Pinging” a cell phone may be useful in furtherance of legitimate law

enforcement investigations and/or emergency situations.

         18.   If unchecked, however, law enforcement officers have the opportunity and ability

to unlawfully spy on individuals through the “pinging” process.

         19.   Therefore, a law enforcement agency may not “ping” an individual’s cell phone

through a company like Securus without obtaining a warrant, or by providing other verified and

authorized documentation according to law.

         20.   On July 22, 2014 Defendant submitted false paperwork to Securus in order to

“ping” the cell phone of Plaintiff Jay R. Holcomb.

         21.   On August 4, 2014, Defendant submitted false paperwork to Securus in order to

“ping” the cell phone of former Mississippi County Sheriff Keith Moore.

         22.   On October 12, 2014 Defendant submitted false paperwork to Securus in order to

“ping” the cell phone of Plaintiff William T. Cooper.

         23.   On October 12, 2014 Defendant submitted false paperwork to Securus in order to

“ping” the cell phone of Plaintiff Jeffery D. Johnson.

         24.   On October 12, 2014 Defendant submitted false paperwork to Securus in order to

“ping” the cell phone of Plaintiff Jeremy S. Stoelting.



                                                 3
    Case: 1:17-cv-00073-JAR Doc. #: 1 Filed: 05/09/17 Page: 4 of 7 PageID #: 4




       25.      On October 23, 2014 Defendant submitted false paperwork to Securus in order to

“ping” the cell phone of Mississippi County Circuit Judge David Dolan.

       26.      On October 30, 2014 Defendant submitted false paperwork to Securus in order to

“ping” the cell phone of Plaintiff James D. Patton.

       27.      In addition to those instances described above, Defendant is believed to have

unlawfully “pinged” the cell phones of Plaintiffs on other occasions.

       28.      Plaintiffs were not under any type of investigation at the time, nor was there any

other lawful reason for Defendant to be spying on them.

                                   COUNT I—1983 ACTION

       29.      Plaintiffs incorporate paragraphs 1 through 28 of this Complaint as if fully set

forth herein.

       30.      Defendant’s actions were committed for the unlawful purpose of spying on

Plaintiffs for his own personal gain, constituted an unlawful abuse of power, and otherwise

served no lawful purpose.

       31.      The Fourth Amendment of the United States Constitution states:

       The right of the people to be secure in their persons, houses, papers, and effects, against
       unreasonable searches and seizures, shall not be violated, and no warrants shall issue, but
       upon probable cause, supported by oath or affirmation, and particularly describing the
       place to be searched and the persons or things to be seized.

       32.      “Pinging” a cell phone constitutes a search and seizure under the Fourth

Amendment and is an invasion of the reasonable expectation of privacy of citizens.

       33.      Defendant’s actions constitute an unreasonable search and seizure in that they

were conducted without probable cause, lawful warrant or other process.

       34.      Defendant’s acts were committed under color of state law.




                                                4
    Case: 1:17-cv-00073-JAR Doc. #: 1 Filed: 05/09/17 Page: 5 of 7 PageID #: 5




       35.     Defendant’s acts violated clearly established statutory and constitutional rights of

which a reasonable person would have known.

       36.     Defendant’s acts were outrageous because of an evil motive and intent, and/or

involved reckless and callous indifference to Plaintiffs’ rights.

       WHEREFORE, Plaintiffs respectfully pray this Court to:

               a. Permanently enjoin Defendant or his agents, assistants, successors, employees

                   and persons acting in concert or cooperation with him from further violating

                   the rights, privileges and immunities guaranteed to Plaintiffs under the

                   Constitution of the United States;

               b. Grant compensatory damages to Plaintiffs;

               c. Grant punitive damages to Plaintiffs; and

               d. Grant Plaintiffs’ costs of this action, including reasonable attorneys’ fees

                   pursuant to 42 U.S.C. § 1988.

             COUNT II—VIOLATION OF STORED COMMUNICATIONS ACT

       37.     Plaintiffs incorporate paragraphs 1 through 36 of this Complaint as if fully set

forth herein

       38.     Like other law enforcement agencies, the Mississippi County Sheriff’s

Department “pings” cell phones by applying to companies like Securus pursuant to procedures

outlined in the Stored Communications Act, 28 U.S.C. §§ 2701 et seq.

       39.     Defendant’s acts as described above constitute a violation of the Stored

Communications Act in that, among other things:

               a. Defendant failed to obtain a warrant or other court order;

               b. Defendant submitted false documentation to Securus.



                                                  5
    Case: 1:17-cv-00073-JAR Doc. #: 1 Filed: 05/09/17 Page: 6 of 7 PageID #: 6




           40.    Defendant’s acts were willful and intentional, thereby justifying an award of

punitive damages.

           WHEREFORE, Plaintiffs respectfully pray this Court to:

                  a. Permanently enjoin Defendant or his agents, assistants, successors, employees

                     and persons acting in concert or cooperation with him from further violating

                     the Stored Communications Act;

                  b. Grant compensatory and statutory damages to Plaintiffs;

                  c. Grant punitive damages to Plaintiffs; and

                  d. Grant Plaintiffs’ costs of this action, including reasonable attorneys’ fees

                     pursuant to 18 U.S.C. § 2707.

                             COUNT III—INVASION OF PRIVACY

           41.    Plaintiffs incorporate paragraphs 1 through 40 of this Complaint as if fully set

forth herein.

           42.    Plaintiffs had a reasonable expectation of privacy in their locations and private

affairs.

           43.    Defendant’s actions constitute an intrusion upon the solitude, seclusion and

private affairs of Plaintiffs.

           44.    Defendant’s actions were unreasonable and highly offensive to a reasonable

person.

           45.    Defendant’s acts were outrageous because of an evil motive and intent, and/or

involved reckless and callous indifference to Plaintiffs’ rights.

           WHEREFORE, Plaintiffs pray that this Court enter judgment in their favor, and award

them compensatory damages in an amount that is fair and reasonable in excess of $25,000,



                                                  6
    Case: 1:17-cv-00073-JAR Doc. #: 1 Filed: 05/09/17 Page: 7 of 7 PageID #: 7




punitive damages, their costs and attorneys’ fees where available, and such other and further

relief as is just and proper under the circumstances.

                                              Respectfully submitted,

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                                                   7
